Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 1 of 18

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA
Cr. No. 05-300 - MAP

Vv.

MICHAEL CECCHETELLI,
Defendant

eer ee ee

GOVERNMENT’ S SUPPLEMENTAL FILING IN SUPPORT OF DETENTION
Now comes the United States of America by and through its
undersigned attorneys files the accompanying affidavit in support
of its motion for detention in the above~captioned indictment.
Respectfully submitted,
MICHAEL J. SULLIVAN

By: \ €

PAUL’ HART SMYTH \&
Assistant U.S. Attorney

Date: June 15, 2005
Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 2 of 18

AFFIDAVIT OF SPECIAL AGENT ROBERT C. LEWIS

I, Robert C. Lewis, being duly sworn, depose and state as

follows:
INTRODUCTION

1. I have been employed by the Federal Bureau of
Investigation (“FBI”} as a Special Agent for over fifteen years.
During that time, I have been involved in dozens of
investigations relating to a wide variety of suspected criminal
activity, including, among other things, drug and firearms
trafficking by organized street gangs, including the Latin Kings.
I have been the affiant on numerous affidavits in support of
criminal complaints and other applications and have spent much of
the last ten years investigating gangs and gang-related activity
in the Commonwealth of Massachusetts and the State of New York.

2. I am submitting this affidavit in support of the
government’s motion that MICHAEL CECCHETELLI, AKA KING MERLIN
{(“Ceccheteili”) be detained pending trial. Cecchetelli’s case is
related to the indictment and arrest of the following
individuals: EDUARDO PAGAN, AKA KING CHINO LATIN; JULIO MARIN,
AKA KING POTE; MICHAEL MARRERO, AKA KING CLUMSY; JOSUE
RODRIGUEZ, AKA KING GRINGO; JOSE ALICEA, AKA KING BEBE; ELIZABETH
CORTES, AKA QUEEN ELLIE; ANDRES GIOVANNI COTTC, AKA KING DRE,
GABRIEL ORTIZ, AKA KING POPEYE; LUZ TORRES, AKA QUEEN KUKI;

ENRIQUE GONZALEZ, AKA KING GRILLO; DAVID RUIZ, AKA KING TYSON;
Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 3 of 18

DANNY ROSS, AKA KING OLD DIRTY; AURORA MARIN PEREZ; ROSADO
NEFTALY, CESAR CRUZ, AKA KING CESAR; RICARDO DIAA, AKA RICKY;
DAVID VADDY, AKA KING LA GRAMITA; KELLY ARZATE, AKA KING GETTY;
NICOLAS DIAZ, AKA NICKY; CHARLES HOWARD, AKA KING NINO; and LUIS
RIVERA, AKA LUIS (hereinafter collectively referred to as “the
Defendants”). All of the Defendants have been charged with
various drug and/or firearms violations in indictments or
criminal complaints issued on June 9, 2005 and June 13, 2005.
All of these individuals are also alieged to be members
(including members of the local or regional leadership) or
associates of the Almighty Latin King/Queen Nation (“the Latin
Kings”), a violent street gang operating throughout the
Commonwealth of Massachusetts.

3. I have not included each and every fact developed in
this investigation in this affidavit. Rather, this affidavit
includes facts I believe to be relevant to issues under 18 U.S.C.
§ 3142.

BACKGROUND OF THE INVESTIGATION

 

4. On February 22, 2004, a Federal Grand Jury in Boston,
Massachusetts, returned indictments charging twenty two members
and associates of the Massachusetts Chapter of the Latin Kings,
including several regional officers representing the Latin Kings’

Massachusetts State Leadership. The indictments were the result
Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 4 of 18

of a multi-agency investigation which targeted the local Lawrence
and Lowell, Massachusetts chapters of the Latin Kings
(hereinafter Phase I). FBI Special Agent Mark S. Karangekis was
the case agent who led the Phase I investigation. SA Karangekis
has advised me that certain defendants of Phase I have pleaded
guilty and cooperated. These cooperating defendants have
provided the FBI with an insider’s understanding of the inner
workings of the state wide leadership of the Massachusetts
Regional Chapter of the Latin Kings and its relationship to the
local chapters. The cooperating defendants provided information
which caused investigators to conclude that the stronghold of the
Massachusetts chapter was in western Massachusetts, and that the
strength associated to its leadership stemmed from the strength
of the local chapters in that part of the state, specifically,
Springfield and Holyoke.

5. The multi~agency investigation referenced above was
continued in western Massachusetts by SA Karangekis and other law
enforcement officers. In particular, the criminal activities of
the state and local leadership and membership of the Springfield
and Holycke chapters of the Latin Kings have been the focus of
“Phase II” of the investigation. When Phase II was initiated,
one of its principal objectives was to further develop
intelligence about the state leadership centered in western
Massachusetts, and the local chapters in Springfield and Holyoke,

3
Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 5 of 18

including their size, the identity and location of their
leadership, the scope of their illegal activities and the way in
which they are organized and operate, including their association
to the state leadership. In furtherance of this Phase II
objective, officers and agents interviewed the cooperating
defendants from Phase I, cooperating witnesses, and a large
number of confidential informants. The officers and agents also
reviewed records and recordings at jails, police departments and
courts, examined documents regarding telephones, automobiles and
real estate used by suspected gang members, and conducted
physical surveillance of individuals and locations in
Springfield, Holyoke, and other surrounding western Massachusetts
communities.

6. SA Karangekis and other officers involved in the
investigation have advised me that since Phase II was initiated
in March of 2004, two Cooperating Witnesses (CWs) have
successfully purchased cocaine, cocaine base in the form of crack
cocaine, heroin and firearms from the Defendants, all of whom are
members or associates of the Massachusetts Chapter of the Latin
Kings. All of these purchases were made in the greater
Springfield area by the CWs, who wore recording equipment and
agreed to have their meetings and conversations with the
Defendants recorded. Many telephone conversations setting up
drug purchases (in which prices and quantities of drugs were

4
Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 6 of 18

discussed) were also consensually recorded. The CWs were also

surveilled by law enforcement officers when they dealt with the

 

Defendants.
THE ORGANIZATION, OPERATION
AND LEADERSHIP OF THE LATIN KINGS
7. In the course of developing intelligence about the Latin

Kings, SA Karangekis and other law enforcement officers have
spoken to dozens of confidential informants, cooperating
defendants, and cooperating witnesses regarding the gang and its
operations. These individuals include current or former members
of the Latin Kings (including former members of its leadership),
who were personally familiar with the gang, its operations and
its leaders.

8. The information about the Latin Kings and its operations
provided below represents a summary of some cf the information
provided by these individuals and information obtained from other
sources. The information provided by individual informants has
been corroborated by comparing it to information given by other
cooperators, information learned by reviewing consensually
recorded telephone calis from area correctional facilities where
Latin King members are incarcerated, and from other sources,
including consensually recorded conversations made during drug

purchases that took place over the course of the investigation.
Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 7 of 18

9. Information provided by current or former members of the
Latin Kings has also been corroborated by subsequent developments
in the investigation. For example, informants identified the
Defendants as Latin King members involved in drug trafficking in
the Springfield and Holyoke area. In addition, the CWs made
controlled purchases of drugs and firearms from the Defendants,
many of whom discussed other gang members and gang activities
during those purchases. Information provided about the Latin
Kings described herein has also been confirmed by checking police
records, by speaking with individuals who participated in the
events, and by examining primary gang documents. In sum, the
information set forth in this affidavit, including the
information regarding the operation of the Latin Kings, is
reliable because it has been provided by multiple sources or
otherwise corroborated.

10. What the investigation has revealed is that the
Massachusetts Chapter of the Latin Kings is a street gang with
hundreds of members throughout the Commonwealth of Massachusetts.
The Latin Kings operate local chapters throughout the state
including chapters inside many correctional facilities. Many
members of the gang are involved in a broad range of illegal
activities including drug trafficking and crimes of violence
undertaken in furtherance of protecting the interests of the gang

and its members.
Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 8 of 18

The Origins of the Aimighty Latin King/Queen Nation

ll. The Latin Kings was formed in the 1960s in Chicago.

Its stated organizational purpose was the organization of
Hispanics dedicated to overcoming an "oppressive government” and
uplifting all "third world" people.

12. The Latin Kings developed a "Manifesto" and a
"Constitution" governing the behavior of its members. These
documents evolved over years into a detailed code or
organizational and behavioral principles. The FBI has obtained
copies of the recently published "Massachusetts Chapter
Constitution of The Almighty Latin Kings Nation" and the
"Manifesto of the Almighty Latin King Nation." The FBI also has
obtained a copy of the Latin Kings’ former Manifesto and the
gang’s "Massachusetts Policy Book."

13. During Phase I of the investigation, a Confidential
Informant provided investigators with the original Manifesto and
Massachusetts Chapter Policy Book. The most senior leader of the
Latin Kings became angry when he observed that those documents
were attached to court documents associated to the prosecution of
the subjects cof Phase I of the investigation, not because they
were disclosed, but because they were not up to date, and
referenced an allegiance to a Latin King leader who was no longer
in power and who was considered an enemy of the "Nation." The
senior leader ordered that the more up to date Manifesto and

7
Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 9 of 18

Chapter Constitution be made available to members. These
documents were provided to SA Karangekis during Phase II of the
investigation by a CW.

14. In its early years of the gang’s development in
Chicago, the Latin Kings formed small coalitions to protect the
interests of its members. As time passed, coalitions known as
"strike back groups" developed into traditional street gangs who
wanted to protect their "turf" from outsiders and rivals.

i5. The seeds planted in the 1960s have evolved into an
institutionally accepted directive to protect "turf" and a strict
"code of silence," a directive that is adhered te by ail Latin
King regional chapters, including the Massachusetts Chapter of
the Latin Kings. The adherence to these principals has created a
culture of secrecy and institutional violence within the Latin
Kings that has grown stronger over the years. Latin King members
are expected to come to the aid of their fellow members on
request without hesitation. Hence, whenever the economic or
other interests of the gang (such as its primacy in certain
designated geographic areas, the drug trafficking activities of
its members, or the security of members from law enforcement) are
threatened, members are required to join in on organized actions
aimed at mutual protection. These actions frequently take the

form of “missions” i.e., acts of violence directed at rivals.
Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 10 of 18

General Leadership Structure of the Latin Kings

16. The Latin Kings have a highly organized rank structure
on the national, regional, and local levels. The leadership at
each level is comprised of a Supreme Crown Inca and an Executive
Crown of officers consisting of a Carsique, (or second-in-
command), a Minister of Defense (responsible for meting out
punishment, waging war against rivals, and maintaining the gang’s
arsenal), a Treasurer {responsible for the collection of dues,
tribute and fines and the maintenance of a common pool of money
known :as a “fundle” used to support concerted activities such as
bailing members out of jail and purchasing weapons) and a
secretary (responsible for maintaining records and the
administration of the gang's business).

17. Although the Latin Kings originated in the Midwest,
they now have Regional and Local Chapters throughout the eastern
United States. Regional Chapters must be sanctioned by the
national leadership in Chicago. Each Regional Chapter must then
sanction its local chapters. While each Regional Chapter adheres
to the laws and regulations set out in the Manifesto, the
Regional Chapters typically have their own regional policy book
or "constitution" to guide the leadership and regulate the
behavior of its membership. As stated above, copies of the
"Massachusetts Policy Book" and "Manifesto" were seized in
Lawrence in 2001. It includes such things as a Membership

9
Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 11 of 18

Application, Voting Form, Convict’s Code of Conduct, Guide to
Starting a Local Chapter of the Latin Kings in Massachusetts and
a form for funeral arrangements for Latin King members. A copy
of the more recent Constitution was provided by a CW in Phase II
of the investigation.

18. The Regional and Local Chapters adhere to the same
leadership structure in place at the national level. The Supreme
Crown Inca for the region is typically the most senior member of
the gang who chooses his Executive Crown Council. In some
circumstances, the Supreme Crown Inca will choose only his
Carsique, and the other positions on the Crown Council will be
determined by a vote of the membership. There is also a Crown
Council Chairman who oversees the activities of the Crown Council
and acts as an advisor for that council and a monitor in
elections. The Executive Crown Council for a region has a great
deal of influence in the selection of the Local Crown Incas for
local chapters within the Region and often appoints Regional
Officers te oversee those Local Crown Incas.

19. A prime example of the rigid organizational structure
of the Latin Kings is its "judicial system." The Latin Kings
maintain their own "system of justice" pursuant to which members
are formally "charged" with violations of the gang laws. Those
charges are adjudicated and individuals found guilty of violating
gang rules are punished. Latin Kings who violate gang rules may

10
Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 12 of 18

face fines, physical punishment or expulsion from the gang.
Members who cooperate with law enforcement may face particularly
harsh punishment up to and including “termination,” a term often
used for execution. Forms for disciplinary proceedings are also
included in the Massachusetts Policy Book.

20. During phase II of the investigation, conversations
between Latin Kings inside and outside of jail were monitored by
the Massachusetts Department of Corrections. During those
discussions, inmates discussed Latin Kings who were being accused
of violations of Latin King rules and were being charged.
Information received from CWs corroborated these monitored
conversations. On more than one occasion, monitored telephone
calls revealed one member referencing "charging papers" or
"bringing charges" against another member for violations as
routine as showing disrespect to a superior or violations as
serious as being a "traitor,” or a "police collaborator." In
other conversations, gang leaders were overheard discussing
punishments, and directing members to mete out those punishments.
During the course of Phase II of the investigation, a Cooperating
Witness provided the FBI with copies of “charging papers"
accusing a Latin King leader with violations of the "nation" law.
The referenced charging papers are at the heart of an internal

conflict which is currently on going in the Latin Kings.

11
Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 13 of 18

19. The investigation revealed that under the laws and
regulations of the Latin Kings, the most serious offense which
could be committed by a member would be to cooperate with the
police against the "Nation,” or to be a "police collaborator,”
and that this offense would carry the gravest of punishments for
the violator.

21, The investigation has also revealed that an
individual's membership in the Latin Kings requires that
individual's sole and unwavering loyalty to the organization, and
that any faltering in that loyalty is punishable. Any
cooperation, or "collaboration" with the police is considered "A
CAPITOL OFFENSE" worthy of the punishment usually associated with
such an offense: death. According to cooperating defendants,
CWs, and confidential informants who are current and former Latin
King members, to adhere to the laws and regulations set out in
these documents is to be a Latin King. Members who do not adhere
are subject to punishment.

22. Gang finances flow from the membership. Individual
members are expected to pay regular dues, tribute (usually in the
form of a percentage of revenues derived from illegal
activities), and fines levied as a result of violations of gang
rules. In turn, these monies are either passed to the regional
leadership for their use or maintained in a common fund known as
the “fundle” that is used for bail, weapons purchases and other

12
Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 14 of 18

joint gang activities. Phase II of the investigation revealed
that the Crown Council Chairman recently held a meeting in an
attempt to re-establish regular payment by members into the
“fundle,” a practice which was neglected by the current Supreme
Crown Inca, one of many missteps taken during his tenor as the

SCI, missteps which have resulted in the threat of "civil war.”

Illegal Activities of the Latin Kings

23. The atmosphere of interdependence and secrecy that
Surrounds the Latin Kings often leads members to sell illegal
drugs together. The closed nature of the drug trafficking by
Latin King members was demonstrated in Phase II of the
investigation, Time and time again, subjects of investigation
revealed to the CWs associations to other subjects from whom the
CWs had also made controlled purchases of drug evidence. In
addition, subjects displayed the common reluctance to meet with
anyone but the CWs, who where trusted associates and members of
the gang, and thus considered safe with whom to deal.

24. The investigation has revealed that the atmosphere of
interdependence that pervades the Latin Kings also results in the
use of institutional violence often imposed to protect the
illegal activities of gang members. Unwanted competition from
other drug traffickers, turf threats from rival gangs, or any
conduct that is perceived to be disrespectful to the Latin Kings
or its members can produce a call to the membership and result in

13
Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 15 of 18

missions, organized violence or shootings. During Phase II of
the investigation, for example, a CW was contacted on a number
of occasions by other members who reported disputes with a rival
gang. The CW was also informed of retaliatory missions against
members of the rival gang who were threatening the geographic
primacy of that individual’s drug trafficking. On more that one
occasion during the investigation, a Latin King member offered to
assist a CW in seeking revenge against another group of criminals
he perceived as a threat to the CW's success as a drug
trafficker. The offer was based solely on their common
membership in the Latin Kings and on the belief that to injure
one Latin King was to injure another, and that every member of
the Latin Kings should support their fellow members, even with
violence, and even to the death,
The Latin Kings in Massachusetts

25. A Regional Chapter of the Latin Kings for Massachusetts
was first sanctioned by the national leadership around 1990. The
first Supreme Inca for Massachusetts is credited with creating
the Massachusetts Policy Book. After the first Supreme Inca
received a life sentence for murder and was removed from power, a
subsequent Supreme Inca succeeded him. Although the second
Supreme Inca was also subsequently incarcerated, he has managed

to maintain influence over the Massachusetts Chapter of the Latin

14
Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 16 of 18

Kings. After the second Supreme Inca was sent to prison, MICHAEL
CECCRETELLI, AKA KING MERLIN, took over as the Region’s Supreme
Inca. There has been a power struggle between CECCHETELLI and
the incarcerated second Supreme Inca.

26. The Latin Kings operate several local chapters in
Massachusetts. They presently include, among cthers, chapters in
Springfield (generally viewed as the strongest and most
influential group), Holyoke, Boston, Worcester, Lawrence, Lowell,
New Bedford, and Brockton. The Local Crowns for each of these
chapters report directly to a Regional Crown officer assigned to
oversee that chapter. Typically, that Regional Crown officer is
a former member of the local chapter. According to sources in
and out of the Latin Kings, the Lawrence and Lowell chapters have
been significantly disrupted. As noted above, the strength of
the Latin Kings now lies in western Massachusetts.

27, The Latin Kings also have a significant presence in
Massachusetts prisons. Leadership inside jail is usually
determined by seniority. Latin Kings chapters in prison are
often actively involved in recruitment of new members. Many
Latin Kings were originally “blessed” into the gang while
incarcerated.

Recent Changes in the Massachusetts Latin Kings

28. During the past year, the Massachusetts chapter of the

hatin Kings has undergone significant changes, started by the

15
Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 17 of 18

indictment and arrest of twenty two leaders and members from
Lawrence and Lowell, including the number three leader in
Massachusetts. Those indictments sent a ripple effect throughout
the Massachusetts Latin King community. The indictments were
perceived by the incarcerated second Supreme Inca as a sign of
MICHAEL CECCHETELLI's poor leadership, and his inability to
control the actions of the local leaders of local chapters. The
second Supreme Inca and CECCHETELLI began feuding, and in this
feud, attempted to align other leaders and members of the Latin
Kings in their respective "camps.” Analysis of telephone
contacts for the second Supreme Inca while he has been
incarcerated reveals his attempt to maintain the loyalty of Latin
Kings on the street, and information provided by CIs and CWs
reveals that CECCHETELLI fears that he is losing control and
could be the subject of violence directed by the second Supreme
Inca and his loyalists. CWs and CIs have advised that
‘CECCHETELLI has attempted to discredit and do violence to the
second Supreme Inca.

29. The investigation revealed that Felix MORALES
(“MORALES”), AKA KING FLEX served as the Minister of Defense, or
Enforcer for the Latin Kings. MORALES is being federally
indicted on firearms and drug trafficking charges. AS a result
of the feud between the two most significant Latin King leaders,
there has been a marked difference in control of the Latin Kings.

16
Case 3:05-cr-30030-MAP Document 14 Filed 06/16/05 Page 18 of 18

Local Crown leaders have taken a more hands on approach, and the
membership and leadership have become brazen in their drug
trafficking and have shown little concern over bringing attention
to the Latin Kings in Springfield. For example, the Local Crown
Inca of the Springfield Chapter has taken control of crack
cocaine distribution in Central Street projects of the south end,
employing a number of lower level Latin Kings and associates.
CONCLUSION

30. The Latin Kings are a hierarchal street gang that has
as a Significant operating objective the protection of drug
trafficking and other illegal activities by its members through
violence and intimidation. Gang members are obligated to seek
retribution against all enemies of the "Nation,” particularly
those they regard as "police collaborators.” MICHAEL CECCHETELLI
is their leader. No combination of conditions of pretrial
release will insure CECCHETELLI’s appearance at trial or the

safety of the community.

Signed under the pains, and penalties of perjury.

pA (C

Robert C. Lewis —
Special Agent, FBI

 

 

17
